                     Case 08-90735                              Doc 1                 Filed 04/29/08 Entered 04/29/08 16:38:55                                                               Desc Main
Official Form 1 (1/08)                                                                  Document     Page 1 of 43
                                                              United States Bankruptcy Court                                                                                                  Voluntary Petition
                                                           CENTRAL DISTRICT OF ILLINOIS
 Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                 (Spouse)(Last, First, Middle):


 Tovo, Raymond M.                                                                                                     Tovo, Kathryn A.
 All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
 NONE                                                                                                                 fka Magallanes, Kathryn


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                     Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
 (if more than one, state all):   3697                                                                                (if more than one, state all):   2997
 Street Address of Debtor                  (No. & Street, City, and State):                                           Street Address of Joint Debtor                     (No. & Street, City, and State):
 165 Vicki Ct.                                                                                                        165 Vicki Ct.
 Manteno IL                                                                                                           Manteno IL
                                                                                              ZIPCODE                                                                                                            ZIPCODE
                                                                                              60950                                                                                                              60950
 County of Residence or of the                                                                                        County of Residence or of the
 Principal Place of Business:                    Kankakee                                                             Principal Place of Business:                    Kankakee
 Mailing Address of Debtor                  (if different from street address):                                    Mailing Address of Joint Debtor                        (if different from street address):

 SAME                                                                                                             SAME
                                                                                              ZIPCODE                                                                                                            ZIPCODE


 Location of Principal Assets of Business Debtor                                                                                                                                                                  ZIPCODE
 (if different from street address above): NOT APPLICABLE


 Type of Debtor             (Form of organization)
                                                                             Nature of Business                                               Chapter of Bankruptcy Code Under Which
                                                                          (Check one box.)                                                    the Petition is Filed  (Check one box)
               (Check one box.)
                                                                          Health Care Business                                  Chapter 7                                          Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)
                                                                          Single Asset Real Estate as defined                   Chapter 9                                           of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.
                                                                          in 11 U.S.C. § 101 (51B)                              Chapter 11
     Corporation (includes LLC and LLP)                                                                                         Chapter 12                                         Chapter 15 Petition for Recognition
                                                                          Railroad                                                                                                 of a Foreign Nonmain Proceeding
     Partnership                                                                                                                Chapter 13
                                                                          Stockbroker
     Other (if debtor is not one of the above                                                                                              Nature of Debts        (Check one box)
                                                                          Commodity Broker
     entities, check this box and state type of
                                                                                                                             Debts are primarily consumer debts, defined                                    Debts are primarily
     entity below                                                         Clearing Bank
                                                                                                                             in 11 U.S.C. § 101(8) as "incurred by an                                       business debts.
                                                                          Other                                              individual primarily for a personal, family,
                                                                                                                             or household purpose"
                                                                            Tax-Exempt Entity
                                                                              (Check box, if applicable.)                                               Chapter 11 Debtors:
                                                                          Debtor is a tax-exempt organization         Check one box:
                                                                          under Title 26 of the United States             Debtor is a small business as defined in 11 U.S.C. § 101(51D).
                                                                          Code (the Internal Revenue Code).               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

                                  Filing Fee         (Check one box)                                                  Check if:
     Full Filing Fee attached                                                                                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
    Filing Fee to be paid in installments (applicable to individuals only). Must attach                                 to insiders or affiliates) are less than $2,190,000.
    signed application for the court’s consideration certifying that the debtor is unable                             -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
    to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                            Check all applicable boxes:
                                                                                                                           A plan is being filed with this petition
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must attach
    signed application for the court's consideration. See Offi cial Form 3B.                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                                           classes of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                                     THIS SPACE IS FOR COURT USE ONLY

        Debtor estimates that funds will be available for distribution to unsecured creditors.
        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
        distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-            50,001-            Over
                                                                             5,000          10,000          25,000            50,000             100,000            100,000
 Estimated Assets
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001       $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500            to $1 billion      $1 billion
                                                         million             million        million         million           million
 Estimated Liabilities
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001       $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500            to $1 billion      $1 billion
                                                         million             million        million         million           million
                  Case 08-90735                   Doc 1           Filed 04/29/08 Entered 04/29/08 16:38:55                                                   Desc Main
Official Form 1 (1/08)                                              Document     Page 2 of 43                                                                         FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
                                                                                             Tovo, Raymond M.                       and
  (This page must be completed and filed in every case)
                                                                                             Tovo, Kathryn A.
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 NONE
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:

 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ Robert P. Follmer                                                         04/29/2008
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D completed and signed by the debtor is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                   Case 08-90735                         Doc 1   Filed 04/29/08 Entered 04/29/08 16:38:55                                     Desc Main
Official Form 1 (1/08)                                             Document     Page 3 of 43                                                           FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
                                                                                     Tovo, Raymond M.                  and
   (This page must be completed and filed in every case)
                                                                                     Tovo, Kathryn A.
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515 are
signs the petition] I have obtained and read the notice required by
                                                                                      attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the order
Code, specified in this petition.                                                     granting recognition of the foreign main proceeding is attached.
 X /s/ Tovo, Raymond M.
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X /s/ Tovo, Kathryn A.
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)
                                                                                      04/29/2008
     04/29/2008                                                                       (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Robert P. Follmer                                                        I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     Robert P. Follmer
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                                and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to
     Ostling & Associates                                                       11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor or
     201 W Olive                                                                accepting any fee from the debtor, as required in that section. Official Form
     Address                                                                    19 is attached.


     Bloomington IL                        61701
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     309-827-3030
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
     04/29/2008                                                                  individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.) (Required
                                                                                 by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge after
 an inquiry that the information in the schedules is incorrect.                  Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided in
this petition is true and correct, and that I have been authorized to
file this petition on behalf of the debtor.                                         Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal, responsible
The debtor requests the relief in accordance with the chapter of title           person, or partner whose Social-Security number is provided above.
11, United States Code, specified in this petition.                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional sheets
                                                                                 conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                 and the Federal Rules of Bankruptcy Procedure may result in fines or
     04/29/2008                                                                  imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
                 Case 08-90735
Official Form 1, Exhibit D (10/06)            Doc 1        Filed 04/29/08 Entered 04/29/08 16:38:55                                    Desc Main
                                                             Document     Page 4 of 43

                                           UNITED STATES BANKRUPTCY COURT
                                              CENTRAL DISTRICT OF ILLINOIS
                                                   DANVILLE DIVISION

In re Tovo, Raymond M.                                                                                                    Case No.
      and                                                                                                                 Chapter 7
      Tovo, Kathryn A.
                                            Debtor(s)




          EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                           CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not I have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the five days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.      [Must be accompanied by a motion for determination
by the court.] [Summarize exigent circumstances here.]




       If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must still
obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a certificate from
the agency that provided the briefing, together with a copy of any debt management plan developed through the agency. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must
be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the court is not satisfied
with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing, your case may be dismissed.
                  Case 08-90735
 Official Form 1, Exhibit D (10/06)             Doc 1        Filed 04/29/08 Entered 04/29/08 16:38:55                                     Desc Main
                                                               Document     Page 5 of 43
               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


         I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:       /s/ Tovo, Raymond M.
 Date:    04/29/2008
                 Case 08-90735
Official Form 1, Exhibit D (10/06)            Doc 1        Filed 04/29/08 Entered 04/29/08 16:38:55                                    Desc Main
                                                             Document     Page 6 of 43

                                           UNITED STATES BANKRUPTCY COURT
                                              CENTRAL DISTRICT OF ILLINOIS
                                                   DANVILLE DIVISION

In re Tovo, Raymond M.                                                                                                    Case No.
      and                                                                                                                 Chapter 7
      Tovo, Kathryn A.

                                            Debtor(s)




          EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                           CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not I have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the five days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.      [Must be accompanied by a motion for determination
by the court.] [Summarize exigent circumstances here.]




       If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must still
obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a certificate from
the agency that provided the briefing, together with a copy of any debt management plan developed through the agency. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must
be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the court is not satisfied
with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing, your case may be dismissed.
                  Case 08-90735
 Official Form 1, Exhibit D (10/06)             Doc 1        Filed 04/29/08 Entered 04/29/08 16:38:55                                     Desc Main
                                                               Document     Page 7 of 43
               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


         I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:      /s/ Tovo, Kathryn A.
 Date:    04/29/2008
 Form 7 (12/07)    Case 08-90735                  Doc 1         Filed 04/29/08 Entered 04/29/08 16:38:55                                       Desc Main
                                                                  Document     Page 8 of 43
                                              UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF ILLINOIS
                                                      DANVILLE DIVISION

In re: Tovo, Raymond M.                                                                                                        Case No.
       and
       Tovo, Kathryn A.
       fka Magallanes, Kathryn

                                                               STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both
spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner,
family farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the
individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P.
1007(m).

           Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions
19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question, use
and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                                DEFINITIONS
           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the
following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than
a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in business" for the purpose of
this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor's primary
employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of a
corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101.




          1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including part-time
          activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was commenced. State also the
          gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis
          of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed,
          state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is
          filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                       SOURCE

Year to date:2008 $12,857.80                                 Debtor's Employment Income
   Last Year:2007
$51,365.(Joint)
Year before:2006 $51,731
(Joint)


          2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing
          under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
           filed.)

AMOUNT                                                       SOURCE



                                                                                                                           Statement of Affairs - Page 1
Form 7 (12/07)   Case 08-90735                  Doc 1        Filed 04/29/08 Entered 04/29/08 16:38:55                                     Desc Main
                                                               Document     Page 9 of 43
AMOUNT                                                    SOURCE

Year to date:2008 $6,672.00                               Spouse's Employment Income
   Last Year:2007$0.00
Year before:2006 $0.00


       3. Payments to creditors
None    Complete a. or b., as appropriate, and c.

        a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
        creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is affected by
        such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an
        alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter
        13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                            DATES OF                                                             AMOUNT
                                                                        PAYMENTS                     AMOUNT PAID                             STILL OWING

Creditor: Indy Mac Bank                                                 02/08 to                     $3960                                   $141,606
Address: 1 National City Parkway                                        04/08
Kalamazoo, MI 49009


Creditor: American Honda Finance                                        02/08 to                     $1080                                   $10,080
                                                                        04/08
Address: 2170 Point Blvd
Suite 100
Elgin, IL 60123


Creditor: Citimortgage                                                  02/08 to                     $882.00                                 $35,549
Address: PO Box 9438                                                    04/08
Gaithersburg, MD 20898


None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
        commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $5,475. If the debtor is an
        individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
        repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13 must
        include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
        is not filed.)




None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or were
        insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)




       4. Suits and administrative proceedings, executions, garnishments and attachments
None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
        (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)




None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the commencement
        of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)




                                                                                                                      Statement of Affairs - Page 2
Form 7 (12/07)   Case 08-90735                  Doc 1         Filed 04/29/08 Entered 04/29/08 16:38:55                                       Desc Main
                                                               Document     Page 10 of 43



       5. Repossessions, foreclosures and returns
None    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller, within
        one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
        property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       6. Assignments and receiverships
None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married debtors
        filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
        and a joint petition is not filed.)




None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the commencement of
        this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
        is filed, unless the spouses are separated and a joint petition is not filed.)




       7. Gifts
None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to family
        members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient. (Married debtors
        filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are
        separated and a joint petition is not filed.)




       8. Losses
None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the commencement of
        this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)




       9. Payments related to debt counseling or bankruptcy
None    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt consolidation,
        relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of this case.

                                                          DATE OF PAYMENT,                                               AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                                 NAME OF PAYER IF OTHER THAN DEBTOR                             DESCRIPTION AND VALUE OF PROPERTY

Payee: Robert P. Follmer                                  Date of Payment:04/15/2008                                     $850.00
Address:                                                  Payor: Tovo, Raymond M.
201 W Olive
Bloomington, IL 61701


       10. Other transfers
None    a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely or as
        security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




                                                                                                                         Statement of Affairs - Page 3
Form 7 (12/07)   Case 08-90735                   Doc 1           Filed 04/29/08 Entered 04/29/08 16:38:55                                    Desc Main
                                                                  Document     Page 11 of 43

None    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device of which
        the debtor is a benificiary.




       11. Closed financial accounts
None    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred within one
        year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments;
        shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married
        debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)




       12. Safe deposit boxes
None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
        joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       13. Setoffs
None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case. (Married
        debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
        are separated and a joint petition is not filed.)




       14. Property held for another person
None    List all property owned by another person that the debtor holds or controls.




       15. Prior address of debtor
None    If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that period and
        vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.




       16. Spouses and Former Spouses
None    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New
        Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of the debtor's
        spouse and of any former spouse who resides or resided with the debtor in the community property state.




       17. Environmental Information
None    For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances, wastes or
        material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these
        substances, wastes, or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the debtor,
        including, but not limited to disposal sites.




                                                                                                                         Statement of Affairs - Page 4
Form 7 (12/07)   Case 08-90735                   Doc 1          Filed 04/29/08 Entered 04/29/08 16:38:55                                          Desc Main
                                                                 Document     Page 12 of 43
        "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or similar
        termunder an Environmental Law:

        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable under
        or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




None    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
        governmental unit to which the notice was sent and the date of the notice.




None    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a party.
        Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




       18. Nature, location and name of business
None    a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
        businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
        self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in which
        the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all
        businesses      in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
        commencment of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all
        businesses      in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
        commencment of this case.


                                     LAST FOUR DIGITS OF                                                                                               BEGINNING AND
NAME                                 SOCIAL-SECURITY OR                       ADDRESS                                NATURE OF BUSINESS                ENDING DATES
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.
                                     (ITIN)/ COMPLETE EIN


Tovo's House of                      ID:                                      165 Vicki Ct                           Hair Salon                        09/2003 to
Hair                                                                          Manteno, IL                                                              present
165 Vicki Ct                                                                  60950
Manteno, IL 60950


None    b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




                                                                                                                             Statement of Affairs - Page 5
 Form 7 (12/07)    Case 08-90735                   Doc 1          Filed 04/29/08 Entered 04/29/08 16:38:55                                   Desc Main
                                                                   Document     Page 13 of 43
          The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor, or
self-employed in a trade, profession, or other activity, either full- or part-time.

          (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
signature page.)




         19. Books, records and financial statements
 None     a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of books of
          account and records of the debtor.




 None     b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records, or
          prepared a financial statement of the debtor.




 None     c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If any of
          the books of account and records are not available, explain.




 None     d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by the debtor within
          two years immediately preceding the commencement of this case.




         20. Inventories
 None     a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar amount and
          basis of each inventory.




 None     b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




         21. Current Partners, Officers, Directors and Shareholders
 None     a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.




                                                                                                                              Statement of Affairs - Page 6
Form 7 (12/07)   Case 08-90735                  Doc 1          Filed 04/29/08 Entered 04/29/08 16:38:55                                        Desc Main
                                                                Document     Page 14 of 43
None    b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or holds 5 percent or
        more of the voting or equity securities of the corporation.




       22. Former partners, officers, directors and shareholders
None    a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.




None    b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the
        commencement of this case.




       23. Withdrawals from a partnership or distribution by a corporation
None    If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses, loans,
        stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.




       24. Tax Consolidation Group.
None    If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax purposes of which
        the debtor has been a member at any time within six years immediately preceeding the commencement of the case.




       25. Pension Funds.
None    If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer, has been
        responsible for contributing at any time within six years immediately preceding the commencement of the case.




                                                                                                                          Statement of Affairs - Page 7
Form 7 (12/07)   Case 08-90735   Doc 1   Filed 04/29/08 Entered 04/29/08 16:38:55     Desc Main
                                          Document     Page 15 of 43




                                                                        Statement of Affairs - Page 8
Form 7 (12/07)   Case 08-90735              Doc 1          Filed 04/29/08 Entered 04/29/08 16:38:55                            Desc Main
                                                            Document     Page 16 of 43
[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



      Date   04/29/2008                       Signature     /s/ Tovo, Raymond M.
                                              of Debtor

                                              Signature     /s/    Tovo, Kathryn A.
      Date   04/29/2008
                                              of Joint Debtor
                                              (if any)




                                                                                                             Statement of Affairs - Page 9
                     Case 08-90735                 Doc 1
B6 Declaration (Official Form 6 - Declaration) (12/07)
                                                                 Filed 04/29/08 Entered 04/29/08 16:38:55                                       Desc Main
                                                                  Document     Page 17 of 43


                                               UNITED STATES BANKRUPTCY COURT
                                                  CENTRAL DISTRICT OF ILLINOIS
                                                       DANVILLE DIVISION
   In re Tovo, Raymond M.                     and Tovo, Kathryn A.                                                                   Case No.
                                                                                                                                     Chapter 7


                                                                                                                       / Debtor




                                                             SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine
the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they file a case under chapter
7, 11, or 13.




                                             Attached           No. of
       NAME OF SCHEDULE                      (Yes/No)           Sheets                    ASSETS                           LIABILITIES                           OTHER

 A-Real Property
                                                Yes                 1           $           141,588.00

 B-Personal Property
                                                Yes                 3           $             29,125.24

 C-Property Claimed as
   Exempt
                                                Yes                 1

 D-Creditors Holding Secured
   Claims
                                                Yes                 1                                              $           187,235.00

 E-Creditors Holding
   Unsecured Priority Claims                    Yes                 1                                              $                      0.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                                Yes                 3                                              $              30,988.08

 G-Executory Contracts and
   Unexpired Leases
                                                Yes                 1

 H-Codebtors
                                                Yes                 1

 I-Current Income of Individual
    Debtor(s)
                                                Yes                 1                                                                                 $              4,582.04

 J-Current Expenditures of
   Individual Debtor(s)
                                                Yes                 1                                                                                 $              5,208.66

                                  TOTAL                           14             $           170,713.24             $          218,223.08
                    Case 08-90735                 Doc 1
B6 Declaration (Official Form 6 - Declaration) (12/07)            Filed 04/29/08 Entered 04/29/08 16:38:55                             Desc Main
                                                                   Document     Page 18 of 43


                                               UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF ILLINOIS
                                                      DANVILLE DIVISION
   In re Tovo, Raymond M.                   and Tovo, Kathryn A.                                                                Case No.
                                                                                                                                Chapter 7



                                                                                                              / Debtor



       STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                             Amount
   Domestic Support Obligations (from Schedule E)                                                                $       0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                    $       0.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                       $       0.00
   Student Loan Obligations (from Schedule F)                                                                    $       0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E             $       0.00
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                     $       0.00
                                                                                                     TOTAL       $       0.00

 State the following:


   Average Income (from Schedule I, Line 16)                                                                         $    4,582.04
   Average Expenses (from Schedule J, Line 18)                                                                       $    5,208.66
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                        $    5,220.34
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                 $   35,567.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                    $    0.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                   $   0.00
   4. Total from Schedule F                                                                                                                     $   30,988.08
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                 $   66,555.08
                   Case 08-90735
FORM B6A (Official Form 6A) (12/07)
                                             Doc 1        Filed 04/29/08 Entered 04/29/08 16:38:55                              Desc Main
                                                           Document     Page 19 of 43

In re Tovo, Raymond M.                and Tovo, Kathryn A.                                            ,                 Case No.
                                      Debtor(s)                                                                                                        (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant
community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s
own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in
the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of
Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold
a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as
Exempt.

                                                                                                                            Current
             Description and Location of Property                               Nature of Debtor's                                               Amount of
                                                                                                                             Value
                                                                               Interest in Property                   of Debtor's Interest,
                                                                                                                                               Secured Claim
                                                                                                        Husband--H    in Property Without
                                                                                                           Wife--W       Deducting any
                                                                                                           Joint--J    Secured Claim or
                                                                                                      Community--C         Exemption

Residence @ 165 Vicki Ct., Manteno, IL                            Fee Simple                                      J     $ 141,588.00           $ 141,588.00
3 BR, 2 BA Ranch




No continuation sheets attached                                                                  TOTAL $                 141,588.00
                                                                         (Report also on Summary of Schedules.)
                        Case 08-90735
B6B (Official Form 6B) (12/07)                          Doc 1   Filed 04/29/08 Entered 04/29/08 16:38:55                           Desc Main
                                                                 Document     Page 20 of 43
In re Tovo, Raymond M.                            and Tovo, Kathryn A.                                   ,                  Case No.
                                                   Debtor(s)                                                                                                     (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
“x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community
own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the
property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor
child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                   Current
               Type of Property                     N            Description and Location of Property                                               Value
                                                                                                                                              of Debtor's Interest,
                                                    o                                                                      Husband--H         in Property Without
                                                                                                                              Wife--W            Deducting any
                                                    n                                                                                          Secured Claim or
                                                                                                                              Joint--J
                                                    e                                                                    Community--C              Exemption


1. Cash on hand.                                   X

2. Checking, savings or other financial                 Checking @ Homestar Bank                                                      J                 $ 795.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building         Location: In debtor's possession
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,        X
   telephone companies, landlords, and
   others.

4. Household goods and furnishings,                     Household Goods                                                               J             $ 1,330.00
   including audio, video, and computer
   equipment.                                           Location: In debtor's possession


5. Books, pictures and other art objects,          X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.
6. Wearing apparel.                                     Wearing Apparel                                                               J                 $ 500.00
                                                        Location: In debtor's possession


7. Furs and jewelry.                                    Jewelry                                                                       J                 $ 300.00
                                                        Location: In debtor's possession


8. Firearms and sports, photographic, and               Computer                                                                      J                   $ 75.00
   other hobby equipment.
                                                        Location: In debtor's possession


                                                        Lawn Mower                                                                    J                   $ 35.00
                                                        Location: In debtor's possession


9. Interests in insurance policies. Name           X
   insurance company of each policy and
   itemize surrender or refund value of each.




Page       1     of     3
                         Case 08-90735
B6B (Official Form 6B) (12/07)                           Doc 1   Filed 04/29/08 Entered 04/29/08 16:38:55             Desc Main
                                                                  Document     Page 21 of 43
In re Tovo, Raymond M.                             and Tovo, Kathryn A.                                  ,     Case No.
                                                    Debtor(s)                                                                                 (if known)


                                                         SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                  Current
               Type of Property                      N            Description and Location of Property                             Value
                                                                                                                             of Debtor's Interest,
                                                     o                                                         Husband--H    in Property Without
                                                                                                                  Wife--W       Deducting any
                                                     n                                                                        Secured Claim or
                                                                                                                  Joint--J
                                                     e                                                       Community--C         Exemption

10. Annuities. Itemize and name each issuer.        X

11. Interest in an education IRA as                 X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other             Interest in 401k                                               J         $ 13,290.24
    pension or profit sharing plans. Give
    particulars.                                         Location: In debtor's possession


13. Stock and interests in incorporated and         X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.    X
    Itemize.

15. Government and corporate bonds and              X
    other negotiable and non-negotiable
    instruments.

16. Accounts Receivable.                            X

17. Alimony, maintenance, support, and              X
    property settlements to which the debtor
    is or may be entitled. Give particulars.

18. Other liquidated debts owed to debtor           X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,    X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.
20. Contingent and non-contingent interests         X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.

21. Other contingent and unliquidated claims        X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual     X
    property. Give particulars.

23. Licenses, franchises, and other general         X
    intangibles. Give particulars.

24. Customer lists or other compilations            X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.

25. Automobiles, trucks, trailers and other              1993 Oldsmobile Cutlass Supreme, fair                          H              $ 375.00
    vehicles and accessories.
                                                         condition with 167,000 miles
                                                         Location: In debtor's possession

Page       2     of      3
                       Case 08-90735
B6B (Official Form 6B) (12/07)                      Doc 1   Filed 04/29/08 Entered 04/29/08 16:38:55                       Desc Main
                                                             Document     Page 22 of 43
In re Tovo, Raymond M.                        and Tovo, Kathryn A.                                  ,              Case No.
                                               Debtor(s)                                                                                              (if known)


                                                    SCHEDULE B-PERSONAL PROPERTY
                                                                     (Continuation Sheet)

                                                                                                                                          Current
                 Type of Property               N            Description and Location of Property                                          Value
                                                                                                                                     of Debtor's Interest,
                                                o                                                                  Husband--H        in Property Without
                                                                                                                      Wife--W           Deducting any
                                                n                                                                                     Secured Claim or
                                                                                                                      Joint--J
                                                e                                                                Community--C             Exemption




                                                    2007 Honda Accord, excellent condition with                              J            $ 12,425.00
                                                    6,800 miles
                                                    Location: In debtor's possession


26. Boats, motors, and accessories.            X

27. Aircraft and accessories.                  X

28. Office equipment, furnishings, and         X
    supplies.

29. Machinery, fixtures, equipment and         X
    supplies used in business.

30. Inventory.                                 X

31. Animals.                                   X

32. Crops - growing or harvested.              X
    Give particulars.

33. Farming equipment and implements.          X

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind not    X
    already listed. Itemize.




Page      3       of   3                                                                                      Total                         $ 29,125.24
                                                                                                                  (Report total also on Summary of Schedules.)
                                                                                                        Include amounts from any continuation sheets attached.
                    Case 08-90735
B6C (Official Form 6C) (12/07)               Doc 1        Filed 04/29/08 Entered 04/29/08 16:38:55                   Desc Main
                                                           Document     Page 23 of 43


In re Tovo, Raymond M.               and Tovo, Kathryn A.                                   ,                 Case No.
                                     Debtor(s)                                                                                                 (if known)


                                  SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:        Check if debtor claims a homestead exemption that exceeds $136,875.
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                   Specify Law                              Value of                Current
             Description of Property                              Providing each                            Claimed            Value of Property
                                                                    Exemption                              Exemption           Without Deducting
                                                                                                                                  Exemptions
Checking @ Homestar Bank                          735 ILCS 5/12-1001(b)                                         $ 795.00                $ 795.00


Household Goods                                   735 ILCS 5/12-1001(b)                                      $ 1,330.00              $ 1,330.00


Wearing Apparel                                   735 ILCS 5/12-1001(a)                                         $ 500.00                $ 500.00


Jewelry                                           735 ILCS 5/12-1001(b)                                         $ 300.00                $ 300.00


Computer                                          735 ILCS 5/12-1001(b)                                          $ 75.00                     $ 75.00


Lawn Mower                                        735 ILCS 5/12-1001(b)                                          $ 35.00                     $ 35.00


Interest in 401k                                  735 ILCS 5/12-1006                                       $ 13,290.24              $ 13,290.24


1993 Oldsmobile Cutlass Supreme                   735 ILCS 5/12-1001(b)                                         $ 375.00                $ 375.00


2007 Honda Accord                                 735 ILCS 5/12-1001(c)                                      $ 4,800.00             $ 12,425.00




                                                                                                                             Page No.    1 of         1
                     Case 08-90735            Doc 1               Filed 04/29/08 Entered 04/29/08 16:38:55                                       Desc Main
                                                                   Document     Page 24 of 43

B6D (Official Form 6D) (12/07)



In re Tovo, Raymond M.             and Tovo, Kathryn A.                                           ,                                    Case No.
                                          Debtor(s)                                                                                                                            (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims
secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with
the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of
secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name
and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name.
See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,”
include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether
the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column
labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in
more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without
Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report
the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                         Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                           of Lien, and Description and Market                                        Without                      Portion, If Any
                                                                                                                  Unliquidated


              Including ZIP Code and
                                                                                                                  Contingent




                                                            Value of Property Subject to Lien                                       Deducting Value
                                                Co-Debtor




                  Account Number
                                                                                                                  Disputed



              (See Instructions Above.)                     H--Husband                                                                of Collateral
                                                            W--Wife
                                                            J--Joint
                                                            C--Community
Account No:
        4457                                                J 07/2007                                                                   $ 10,080.00                               $ 0.00
Creditor # : 1                                                Auto loan
American Honda Finance                                        2007 Honda Accord ,
2170 Point Blvd
Suite 100
Elgin IL 60123
                                                               Value:   $ 12,425.00
Account No:
        5753                                                J 05/2006                                                                   $ 35,549.00                    $ 35,549.00
Creditor # : 2                                                2nd Mortgage
Citimortgage                                                  Residence @ 165 Vicki Ct.,
PO Box 9438                                                   Manteno, IL
Gaithersburg MD 20898

                                                              Value: $ 141,588.00
Account No:
        5181                                                J 05/2006                                                                 $ 141,606.00                              $ 18.00
Creditor # : 3                                                1st Mortgage
Indy Mac Bank                                                 Residence @ 165 Vicki Ct.,
1 National City Parkway                                       Manteno, IL
Kalamazoo MI 49009

                                                               Value:   $ 141,588.00
No continuation sheets attached                                                                              Subtotal $                $ 187,235.00                    $ 35,567.00
                                                                                                          (Total of this page)
                                                                                                                   Total $             $ 187,235.00                    $ 35,567.00
                                                                                                      (Use only on last page)
                                                                                                                                 (Report also on Summary of   (If applicable, report also on
                                                                                                                                 Schedules.)                  Statistical Summary of
                                                                                                                                                              Certain Liabilities and
                                                                                                                                                              Related Data)
                           Case 08-90735
  B6E (Official Form 6E) (12/07)
                                                              Doc 1            Filed 04/29/08 Entered 04/29/08 16:38:55                                          Desc Main
                                                                                Document     Page 25 of 43
  In re Tovo, Raymond M.                       and Tovo, Kathryn A.                                                          ,                              Case No.
                                                      Debtor(s)                                                                                                              (if known)
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured
  claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code,
  and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the
  filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor
  chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor
  child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
  appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them or the
  marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is
  contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is
  disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

      Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the
  box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to
  priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts
  report this total also on the Statistical Summary of Certain Liabilities and Related Data.

       Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not
  entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with primarily consumer
  debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

  TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

         Domestic Support Obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
         responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
         U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
         appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
         independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
         cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
         Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation
         of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
         were not delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and Certain Other Debts Owed to Governmental Units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to Maintain the Capital of an Insured Depository Institution
         Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the
         Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).
         Claims for Death or Personal Injury While Debtor Was Intoxicated
         Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
         drug, or another substance. 11 U.S.C. § 507(a)(10).

*Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                                      No continuation sheets attached
                    Case 08-90735             Doc 1                 Filed 04/29/08 Entered 04/29/08 16:38:55                                                              Desc Main
                                                                     Document     Page 26 of 43
B6F (Official Form 6F) (12/07)


In re Tovo, Raymond M.             and Tovo, Kathryn A.                                                           ,                                   Case No.
                                        Debtor(s)                                                                                                                                           (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with
the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials
and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation
sheet provided.

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

    If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

      Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the
Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain
Liabilities and Related Data.
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


        Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                             Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                   Unliquidated
                                                       Co-Debtor




                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                   Disputed
                 And Account Number
                                                                   H--Husband
                (See instructions above.)                          W--Wife
                                                                   J--Joint
                                                                   C--Community
          2084
Account No:                                                        J   11/2006                                                                                                          $ 1,751.01
Creditor # : 1                                                         Credit Card Purchases
Best Buy
PO Box 17298
Baltimore MD 21297


          6251
Account No:                                                        J   04/2001                                                                                                         $ 11,431.00
Creditor # : 2                                                         Credit Card Purchases
Capital One
PO box 30281
Salt Lake City UT 84130


          2145
Account No:                                                        J                                                                                                                       $ 232.57
Creditor # : 3                                                          Notice - Collecting for Creditor
Creditors Collection Bureau                                             Collecting for Riverside Medical
PO Box 63
                                                                        Center
Kankakee IL 60901


          4253
Account No:                                                        J   06/2005                                                                                                             $ 603.17
Creditor # : 4                                                         Credit Card Purchases
Darvin Furniture
PO Box 15521
Wilmington DE 19850


     2 continuation sheets attached                                                                                                                 Subtotal $                         $ 14,017.75
                                                                                                                                                       Total $
                                                                       (Use only on last page of the completed Schedule F. Report also on Summary of Schedules
                                                                             and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                   Case 08-90735              Doc 1               Filed 04/29/08 Entered 04/29/08 16:38:55                                                              Desc Main
                                                                   Document     Page 27 of 43
B6F (Official Form 6F) (12/07) - Cont.


In re Tovo, Raymond M.              and Tovo, Kathryn A.                                                        ,                                   Case No.
                                         Debtor(s)                                                                                                                                        (if known)
         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                  (Continuation Sheet)

        Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                             Amount of Claim
                                                                           and Consideration for Claim.




                                                                                                                                                                 Unliquidated
                                                     Co-Debtor
                 including Zip Code,




                                                                                                                                                    Contingent
                                                                           If Claim is Subject to Setoff, so State.




                                                                                                                                                                 Disputed
                And Account Number
                                                                 H--Husband
                (See instructions above.)                        W--Wife
                                                                 J--Joint
                                                                 C--Community
          4472
Account No:                                                      J   08/2007                                                                                                          $ 6,491.00
Creditor # : 5                                                       Credit Card Purchases
HSBC BK DEPT
961 Weigel Dr.
Elmhurst IL 60126


          6278
Account No:                                                      J   05/2005                                                                                                             $ 190.00
Creditor # : 6                                                       Notice - Collection for Creditor
Illinois Collection Services
PO Box 1010
Tinley Park IL 60477


          6047
Account No:                                                      J   01/2008                                                                                                             $ 323.26
Creditor # : 7                                                       Medical            Bills
Riverside Medical Center
Po Box 88036
Chicago IL 60680


          7674
Account No:                                                      J   02/2007                                                                                                          $ 1,234.27
Creditor # : 8                                                       Medical            Bills
Riverside Medical Center
PO Box377
Milwaukee WI 53201


          8351
Account No:                                                      J   07/2007                                                                                                          $ 5,565.00
Creditor # : 9                                                       Credit Card Purchases
State Farm Credit Union
3 State Farm Plaza
N-4
Bloomington IL 61791

          4459
Account No:                                                      J   02/2007                                                                                                             $ 294.80
Creditor # : 10                                                      Medical            Bills
Vijay Harriyani
375 N. Wall St.
Suite 310
Kankakee IL 60901




Sheet No.     1 of        2 continuation sheets attached to Schedule of                                                                           Subtotal $                         $ 14,098.33
Creditors Holding Unsecured Nonpriority Claims                                                                                                       Total $
                                                                     (Use only on last page of the completed Schedule F. Report also on Summary of Schedules
                                                                           and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                   Case 08-90735              Doc 1               Filed 04/29/08 Entered 04/29/08 16:38:55                                                              Desc Main
                                                                   Document     Page 28 of 43
B6F (Official Form 6F) (12/07) - Cont.


In re Tovo, Raymond M.              and Tovo, Kathryn A.                                                        ,                                   Case No.
                                         Debtor(s)                                                                                                                                        (if known)
         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                  (Continuation Sheet)

        Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                             Amount of Claim
                                                                           and Consideration for Claim.




                                                                                                                                                                 Unliquidated
                                                     Co-Debtor
                 including Zip Code,




                                                                                                                                                    Contingent
                                                                           If Claim is Subject to Setoff, so State.




                                                                                                                                                                 Disputed
                And Account Number
                                                                 H--Husband
                (See instructions above.)                        W--Wife
                                                                 J--Joint
                                                                 C--Community
          6315
Account No:                                                      J   11/2003                                                                                                          $ 2,872.00
Creditor # : 11                                                      Credit Card Purchases
Washington Mutual Card Service
Po Box 9180
Pleasanton CA 94566


Account No:




Account No:




Account No:




Account No:




Account No:




Sheet No.     2 of        2 continuation sheets attached to Schedule of                                                                           Subtotal $                          $ 2,872.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                       Total $
                                                                     (Use only on last page of the completed Schedule F. Report also on Summary of Schedules                         $ 30,988.08
                                                                           and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                    Case 08-90735
B6G (Official Form 6G) (12/07)                  Doc 1        Filed 04/29/08 Entered 04/29/08 16:38:55                                 Desc Main
                                                              Document     Page 29 of 43

In re Tovo, Raymond M.                 and Tovo, Kathryn A.                                                / Debtor            Case No.
                                                                                                                                                               (if known)


                 SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

              Name and Mailing Address,                                                     Description of Contract or Lease and
                Including Zip Code, of                                                           Nature of Debtor's Interest.
                Other Parties to Lease                                             State whether Lease is for Nonresidential Real Property.
                     or Contract.                                                    State Contract Number of any Government Contract.

American Honda Finance                                       Contract Type: Auto Lease
2170 Point Blvd                                              Terms: 3 years @ $360 month
Suite 100                                                    Beginning date:
Elgin IL 60123                                               Debtor's Interest: Lessor
                                                             Description: 2007 Honda Accord, excellent condition with 6,800
                                                                          miles
                                                             Buyout Option:




                                                                                                                                                   Page      1 of       1
                    Case 08-90735
B6H (Official Form 6H) (12/07)
                                             Doc 1      Filed 04/29/08 Entered 04/29/08 16:38:55                            Desc Main
                                                         Document     Page 30 of 43

In re Tovo, Raymond M.               and Tovo, Kathryn A.                                          / Debtor          Case No.
                                                                                                                                                  (if known)


                                                    SCHEDULE H-CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight year
period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of any former spouse who resides or resided
with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years
immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P.
1007(m).
   Check this box if the debtor has no codebtors.

                       Name and Address of Codebtor                                                  Name and Address of Creditor




                                                                                                                                        Page     1 of      1
                      Case 08-90735
B6I (Official Form 6I) (12/07)
                                                      Doc 1          Filed 04/29/08 Entered 04/29/08 16:38:55                             Desc Main
                                                                      Document     Page 31 of 43


In re Tovo, Raymond M.                       and Tovo, Kathryn A.                                      ,                     Case No.
                                               Debtor(s)                                                                                               (if known)


                         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this
form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
   Debtor's Marital                                                                DEPENDENTS OF DEBTOR AND SPOUSE
     Status:                       RELATIONSHIP(S):                                                                             AGE(S):
      Married                      Daughter                                                                                     10
                                   Son                                                                                          5
  EMPLOYMENT:                                                  DEBTOR                                                                     SPOUSE

  Occupation                     Route Sales                                                           Hair Stylist
  Name of Employer               Frito-Lay                                                             Self
  How Long Employed              6 years
  Address of Employer            Manteno IL            60950                                           165 Vicki Ct.
                                                                                                       Manteno IL 60950
  INCOME: (Estimate of average or projected monthly income at time case filed)                                         DEBTOR                             SPOUSE
  1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                        $                        4,068.18 $                              0.00
  2. Estimate monthly overtime                                                                         $                            0.00 $                              0.00
  3. SUBTOTAL                                                                                          $                        4,068.18 $                              0.00
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll taxes and social security                                                             $                             607.06    $                        0.00
      b. Insurance                                                                                     $                             320.62    $                        0.00
      c. Union dues                                                                                    $                              49.01    $                        0.00
      d. Other (Specify): Uniforms                                                                     $                              21.45    $                        0.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                    $                          998.14 $                              0.00
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                   $                        3,070.04 $                           0.00
  7. Regular income from operation of business or profession or farm (attach detailed statement)       $                            0.00 $                       1,112.00
  8. Income from real property                                                                         $                            0.00 $                           0.00
  9. Interest and dividends                                                                            $                            0.00 $                           0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that      $                            0.00 $                         400.00
  of dependents listed above.
  11. Social security or government assistance
    (Specify):                                                                                         $                              0.00 $                            0.00
  12. Pension or retirement income                                                                     $                              0.00 $                            0.00
  13. Other monthly income
    (Specify):                                                                                         $                              0.00 $                            0.00

  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $                          0.00     $                 1,512.00
  15. AVERAGE MONTHLY INCOME               (Add amounts shown on lines 6 and 14)                           $                    3,070.04       $                 1,512.00
  16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals                                                               $                  4,582.04
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                               (Report also on Summary of Schedules and, if applicable, on
                                                                                                                Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




                                                                                                                                                   Page No.       1 of         1
                          Case 08-90735
B6J (Official Form 6J) (12/07)
                                                         Doc 1         Filed 04/29/08 Entered 04/29/08 16:38:55                                        Desc Main
                                                                        Document     Page 32 of 43



In re Tovo, Raymond M.                      and Tovo, Kathryn A.                                                ,                           Case No.
                                                   Debtor(s)                                                                                                                    (if known)

                        SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ
from the deductions from income allowed on Form 22A or 22C.
    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
    "Spouse."

                                                                                                                                                                        1,320.00
 1. Rent or home mortgage payment (include lot rented for mobile home) ........................................................................................................................
                                                                                                                                                     $
       a. Are real estate taxes included?        Yes          No
       b. Is property insurance included?        Yes          No
                                                                                                                                                                                  185.00
 2. Utilities: a. Electricity and heating fuel .....................................................................................................................................................
                                                                                                                                                            $
                b. Water and sewer                                                                                                                          $                         0.00
                c. Telephone                                                                                                                                                        70.00
                                   ..............................................................................................................................................................
                                                                                                                                                            $
                d. Other      Cable and Internet                                                                                                            $                     149.00
                   Other     Water & Garbage                                                                                                                                      145.00
                             ...................................................................................................................................................................
                                                                                                                                                            $
                   Other                                                                                                                                    $                         0.00
                                                                                                                                                                                 50.00
 3. Home maintenance (repairs and upkeep) ..............................................................................................................................................
                                                                                                                                                         $
 4. Food                                                                                                                                                 $                  1,000.00
                                                                                                                                                                               200.00
 5. Clothing ....................................................................................................................................................................................
                                                                                                                                                         $
 6. Laundry and dry cleaning                                                                                                                             $                         0.00
 7. Medical and dental expenses                                                                                                                          $                     240.00
                                      ........................................................................................................................................................
 8. Transportation (not including car payments)                                                                                                          $                     350.00
                                                                                                                                                                               100.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc. ..................................................................................................................
                                                                                                                                                         $
 10. Charitable contributions                                                                                                                            $                       30.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's                                                                                                                    $                         0.00
                                             ....................................................................................................................................................
              b. Life                                                                                                                                       $                         0.00
              c. Health                                                                                                                                     $                         0.00
                           ......................................................................................................................................................................
              d. Auto                                                                                                                                     $                     174.00
                                                                                                                                                                                    0.00
              e. Other ........................................................................................................................................................................
                                                                                                                                                          $
                 Other                                                                                                                                    $                         0.00
                                                                                                                                                                                    0.00
                 Other ........................................................................................................................................................................
                                                                                                                                                          $
  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)                                                                                                                                                 $                         0.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                                           $                     360.00
                          ........................................................................................................................................................................
           b. Other:      2nd Mortgage                                                                                                                      $                      294.00
           c. Other:                                                                                                                                         $                         0.00
                          ........................................................................................................................................................................
           d. Other:                                                                                                                                        $                         0.00
  14. Alimony, maintenance, and support paid to others                                                                                                       $                        0.00
                                                               ..................................................................................................................................
  15. Payments for support of additional dependents not living at your home                                                                             $                         0.00
  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                      $                     311.66
                                                                                                       ....................................................................................
  17. Other: Toiletries                                                                                                                                 $                     100.00
             Child Activities & Lunches                                                                                                                                       130.00
      Other: ................................................................................................................................................................................
                                                                                                                                                        $
      Other:                                                                                                                                            $                         0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                        $                  5,208.66
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                  $                  4,582.04
      b. Average monthly expenses from Line 18 above                                                                                                        $                  5,208.66
      c. Monthly net income (a. minus b.)                                                                                                                   $                  (626.62)
                    Case 08-90735                 Doc 1
B6 Declaration (Official Form 6 - Declaration) (12/07)     Filed 04/29/08 Entered 04/29/08 16:38:55                           Desc Main
                                                            Document     Page 33 of 43

In re Tovo, Raymond M.                   and Tovo, Kathryn A.                                                         Case No.
                                                Debtor                                                                                                (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of    15   sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   4/29/2008                                   Signature     /s/ Tovo, Raymond M.
                                                                        Tovo, Raymond M.


      Date:   4/29/2008                                   Signature     /s/ Tovo, Kathryn A.
                                                                        Tovo, Kathryn A.

                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
FORM B8 (10/05)   Case 08-90735               Doc 1         Filed 04/29/08 Entered 04/29/08 16:38:55                                       Desc Main
                                                             Document     Page 34 of 43

                                            UNITED STATES BANKRUPTCY COURT
                                               CENTRAL DISTRICT OF ILLINOIS
                                                    DANVILLE DIVISION
In re Tovo, Raymond M.                and Tovo, Kathryn A.                                                             Case No.
                                                                                                                       Chapter 7



                                                                                                          / Debtor




                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
     I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.
     I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.

     I intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:
                                                                                                            Property will be Property is     Property will be   Debt will be
                                                                                                            Surrendered      claimed as      redeemed           reaffirmed
Description of Secured Property                            Creditor's Name                                                   exempt          pursuant to        pursuant to
                                                                                                                                             11 U.S.C. § 722    11 U.S.C. § 524(c)

2007 Honda Accord                                         American Honda Finance                                                    X                                   X

Residence @ 165 Vicki Ct.,                                Indy Mac Bank                                                                                                 X
Manteno, IL
        "                                                 Citimortgage                                                                                                  X

                                                                                         Lease will be
                                                                                         assumed
 Description of Leased Property                            Lessor's Name                 pursuant
                                                                                         to 11 U.S.C.
                                                                                         § 362(h)(1)(A)

2007 Honda Accord, excellent condition                     American Honda Finance
with 6,800 miles




                                                                                                                                                       Page       1 of         2
FORM B8 (10/05)   Case 08-90735   Doc 1    Filed 04/29/08 Entered 04/29/08 16:38:55   Desc Main
                                            Document     Page 35 of 43

                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION




                                                    Signature of Debtor(s)



Date:   04/29/2008                        Debtor:   /s/ Tovo, Raymond M.


Date:   04/29/2008                        Joint Debtor:   /s/ Tovo, Kathryn A.




                                                                                            Page   2 of   2
              Case 08-90735
Rule 2016(b) (8/91)                    Doc 1      Filed 04/29/08 Entered 04/29/08 16:38:55                 Desc Main
                                                   Document     Page 36 of 43
                                     UNITED STATES BANKRUPTCY COURT
                                        CENTRAL DISTRICT OF ILLINOIS
                                             DANVILLE DIVISION
        Tovo, Raymond M.                                                                            Case No.
In re
          and                                                                                       Chapter 7
        Tovo, Kathryn A.
        fka Magallanes, Kathryn
                                                                                         / Debtor
        Attorney for Debtor:   Robert P. Follmer

                                   STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $           1,000.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                    850.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $                 150.00

3. $             299.00           of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
     None other

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None

Dated: 04/29/2008                               Respectfully submitted,


                                             X /s/ Robert P. Follmer
                       Attorney for Petitioner: Robert P. Follmer
                                                Ostling & Associates
                                                201 W Olive
                                                Bloomington IL 61701
                Case 08-90735            Doc 1        Filed 04/29/08 Entered 04/29/08 16:38:55                               Desc Main
B22A (Official Form 22A) (Chapter 7) (01/08)
                                                       Document     Page 37 of 43

                                                                                        According to the calculations required by this statement:
  In re Tovo, Raymond M. and Tovo, Kathryn A.                                               The presumption arises.
                  Debtor(s)                                                                 The presumption does not arise.
  Case Number:                                                                    (Check the box as directed in Parts I, III, and VI of this statement.)
                  (If known)


                               CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                AND MEANS-TEST CALCULATION

In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.


                Part I. EXCLUSION FOR DISABLED VETERANS AND NON-CONSUMER DEBTORS
         If you are a disabled veteran described in the Veteran’s Declaration in this Part I, (1) check the box at the beginning of the
         Veteran’s Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the
         verification in Part VIII. Do not complete any of the remaining parts of this statement.
 1A
           Veteran’s Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
         defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
         defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).

         If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII. Do not complete any of
 1B      the remaining parts of this statement.

            Declaration of non-consumer debts.        By checking this box, I declare that my debts are not primarily consumer debts.



                    Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
         Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
         a.    Unmarried. Complete only Column A ("Debtor’s Income") for Lines 3-11.
         b.     Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
         penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are
         living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
         Complete only Column A ("Debtor’s Income") for Lines 3-11.
         c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
  2
         Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for Lines 3-11.
         d.   Married, filing jointly. Complete both Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for
         Lines 3-11.
         All figures must reflect average monthly income received from all sources, derived during the six calendar
                                                                                                                                   Column A      Column B
         months prior to filing the bankruptcy case, ending on the last day of the month before the filing. If the amount
         of monthly income varied during the six months, you must divide the six month total by six, and enter the                  Debtor's      Spouse's
         result on the appropriate line.
                                                                                                                                    Income         Income
  3      Gross wages, salary, tips, bonuses, overtime, commissions.                                                               $4,420.00      $0.00

         Income from the operation of a business, profession, or farm. Subtract Line b from Line a and enter
         the difference in the appropriate column(s) of Line 4. If you operate more than one business, profession or
         farm, enter aggregate numbers and provide details on an attachment. Do not enter a number less than zero.
  4      Do not include any part of the business expenses entered on Line b as a deduction in Part V.
           a.     Gross receipts                                                    $1,112.00
           b.     Ordinary and necessary business expenses                          $311.66
                                                                                                                                  $0.00          $800.34
           c.     Business income                                                   Subtract Line b from Line a

          Rent and other real property income. Subtract Line b from Line a and enter the difference
         in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
         any part of the operating expenses entered on Line b as a deduction in Part V.
  5        a.     Gross receipts                                                    $0.00
           b.     Ordinary and necessary operating expenses                         $0.00
           c.     Rent and other real property income                               Subtract Line b from Line a                   $0.00          $0.00

  6      Interest, dividends, and royalties.                                                                                      $0.00          $0.00
               Case 08-90735            Doc 1      Filed 04/29/08 Entered 04/29/08 16:38:55                            Desc Main
B22A (Official Form 22A) (Chapter 7) (01/08)
                                                     Document
                                                - Cont.
                                                                 Page 38 of 43                                                                        2
  7     Pension and retirement income.                                                                                      $0.00           $0.00

        Any amounts paid by another person or entity, on a regular basis, for the household expenses of
  8     the debtor or the debtor's dependents, including child support paid for that purpose.
        Do not include alimony or separate maintenance payments or amounts paid by your spouse if Column B is
        icompleted.                                                                                                         $0.00           $0.00

        Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
        However, if you contend that unemployment compensation received by you or your spouse
        was a benefit under the Social Security Act, do not list the amount of such compensation in
  9     Column A or B, but instead state the amount in the space below:

          Unemployment compensation claimed to
          be a benefit under the Social Security Act          $0.00
                                                       Debtor ________                  $0.00
                                                                                 Spouse _________                           $0.00           $0.00

         Income from all other sources. Specify source and amount. If necessary, list additional sources on a
        separate page. Do not include alimony or separate maintenance payments paid by your spouse
 10     if Column B is completed, but include all other payments of alimony or separate maintenance.
        Do not include any benefits received under the Social Security Act or payments received as a victim of a war
        crime, crime against humanity, or as a victim of international or domestic terrorism.
               a.                                                                      0
               b.                                                                      0

          Total and enter on Line 10                                                                                        $0.00           $0.00
        Subtotal of Current Monthly Income for § 707(b)(7).      Add Lines 3 thru 10 in
 11     Column A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the
        total(s).                                                                                                           $4,420.00       $800.34

        Total Current Monthly Income for § 707(b)(7). If Column B has been completed,
 12     add Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
        completed, enter the amount from Line 11, Column A.                                                                 $5,220.34




                                       Part III. APPLICATION OF § 707(b)(7) EXCLUSION
 13     Annualized Current Monthly Income for § 707(b)(7).       Multiply the amount from Line 12 by
        the number 12 and enter the result.                                                                                             $62,644.08

        Applicable median family income. Enter the median family income for the applicable state and
        household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
 14     the bankruptcy court.)
                                                                                                                                        $77,634.00
                                              ILLINOIS
        a. Enter debtor’s state of residence: ______________________                                    4
                                                                     b. Enter debtor’s household size: __________

        Application of Section 707(b)(7).    Check the applicable box and proceed as directed.
          The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does
 15     not arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.
           The amount on Line 13 is more than the amount on Line 14.          Complete the remaining parts of this
        statement.

                     Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15).

                    Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
 16     Enter the amount from Line 12.                                                                                                  $

        Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
        Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor’s dependents.
        Specify in the lines below the basis for excluding the Column B income (such as payment of the spouse’s tax liability
        or the spouse’s support of persons other than the debtor or the debtor’s dependents) and the amount of income
        devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did not check box at
        Line 2.c, enter zero.
 17
          a.                                                                                          $

          b.                                                                                          $

          c.                                                                                          $

          Total and enter on Line 17                                                                                                    $
               Case 08-90735           Doc 1       Filed 04/29/08 Entered 04/29/08 16:38:55                               Desc Main
B22A (Official Form 22A) (Chapter 7) (01/08)
                                                     Document
                                                - Cont.
                                                                 Page 39 of 43                                                             3
 18     Current monthly income for § 707(b)(2).      Subtract Line 17 from Line 16 and enter the result.                               $




                                 Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                 Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
        National Standards: food, clothing, and other items.        Enter in Line 19A the “Total” amount from IRS National
 19A    Standards for Food, Clothing and Other Items for the applicable household size. (This information is available at
         www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                                       $

        National Standards: health care.         Enter in Line a1 below the amount from IRS National Standards for Out-of-Pocket
        Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-of-Pocket Health
        Care for persons 65 years of age or older. (This information is available at www.usdoj.gov/ust/    or from the clerk
        of the bankruptcy court.) Enter in Line b1 the number of members of your household who are under 65 years of age,
        and enter in Line b2 the number of members of your household who are 65 years of age or older. (The total number of
        household members must be the same as the number stated in Line 14b.) Multiply Line a1 by Line b1 to obtain a total
        amount for household members under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total
 19B    amount for household members 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total
        health care amount, and enter the result in Line 19B.

          Household members under 65 years of age                        Household members 65 years of age or older

         a1.    Allowance per member                                   a2.     Allowance per member

         b1.    Number of members                                      b2.     Number of members
         c1.    Subtotal                                               c2.     Subtotal                                                $

         Local Standards: housing and utilities; non-mortgage expenses.                Enter the amount of the
 20A    IRS Housing and Utilities Standards; non-mortgage expenses for the applicable county and household size.
        (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                               $

         Local Standards: housing and utilities; mortgage/rent expenses.                 Enter, in Line a below, the
        amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and household size
        (this information is available at www.usdoj.gov/ust/      or from the clerk of the bankruptcy court); enter on
        Line b the total of the Average Monthly Payments for any debts secured by your home, as stated in Line
        42; subtract Line b from Line a and enter the result in Line 20B. Do not enter an amount less than zero.
 20B
          a.    IRS Housing and Utilities Standards; mortgage/rental expense                            $
          b.    Average Monthly Payment for any debts secured by your
                home, if any, as stated in Line 42                                                      $
          c.    Net mortgage/rental expense                                                             Subtract Line b from Line a.   $

        Local Standards: housing and utilities; adjustment.        If you contend that the process set out in
        Lines 20A and 20B does not accurately compute the allowance to which you are entitled under the IRS
        Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
        state the basis for your contention in the space below:
 21



                                                                                                                                       $

        Local Standards: transportation; vehicle operation/public transportation expense.
        You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
        operating a vehicle and regardless of whether you use public transportation.
        Check the number of vehicles for which you pay the operating expenses or for which the operating
        expenses are included as a contribution to your household expenses in Line 8.
  22A
          0    1    2 or more.
        If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards: Transportation.
        If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS Local Standards:
        Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or Census
        Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                         $

        Local Standards: transportation; additional public transportation expense.                If you pay the operating expenses
        for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
 22B    your public transportation expenses, enter on Line 22B the “Public Transportation” amount from IRS Local Standards:
        Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                    $
                  Case 08-90735           Doc 1       Filed 04/29/08 Entered 04/29/08 16:38:55                               Desc Main
B22A (Official Form 22A) (Chapter 7) (01/08)
                                                        Document
                                                   - Cont.
                                                                    Page 40 of 43                                                          4
        Local Standards: transportation ownership/lease expense; Vehicle 1.           Check the number
        of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease
        expense for more than two vehicles.)

              1     2 or more.

         Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
        (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
 23      Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
         Line a and enter the result in Line 23.  Do not enter an amount less than zero.


         a.       IRS Transportation Standards, Ownership Costs                    $
         b.       Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                   $                                                   $
                  as stated in Line 42
         c.        Net ownership/lease expense for Vehicle 1                       Subtract Line b from Line a.

         Local Standards: transportation ownership/lease expense; Vehicle 2.
         Complete this Line only if you checked the "2 or more" Box in Line 23.
        Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
        (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
        the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b
 24     from Line a and enter the result in Line 24. Do not enter an amount less than zero.
          a.         IRS Transportation Standards, Ownership Costs                               $
          b.         Average Monthly Payment for any debts secured by Vehicle 2,
                     as stated in Line 42                                                        $
          c.         Net ownership/lease expense for Vehicle 2
                                                                                                 Subtract Line b from Line a.          $

        Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
 25     for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self
        employment taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales
        taxes.

        Other Necessary Expenses: mandatory payroll deductions for employment.                   Enter the total average monthly
 26     payroll deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
        Do not include discretionary amounts, such as voluntary 401(k) contributions.
                                                                                                                                       $

         Other Necessary Expenses: life insurance.           Enter total average monthly premiums that you actually
 27     pay for term life insurance for yourself. Do not include premiums for insurance on your dependents,
                                                                                                                                       $
        for whole life or for any other form of insurance.
        Other Necessary Expenses: court-ordered payments.               Enter the total monthly amount that you are required
 28     to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments.
        Do not include payments on past due support obligations included in Line 44.                                                   $

         Other Necessary Expenses: education for employment or for a physically or mentally
        challenged child.    Enter the total average monthly amount that you actually expend for education that is a
 29
        condition of employment and for education that is required for a physically or mentally challenged dependent
        child for whom no public education providing similar services is available.                                                    $

 30     Other Necessary Expenses: childcare.          Enter the total average monthly amount that you actually expend on
        childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.                  $

        Other Necessary Expenses: health care.             Enter the total average monthly amount that you actually expend on health
 31     care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by insurance or
        paid by a health savings account, and that is in excess of the amount entered in Line 19B.
        Do not include payments for health insurance or health savings accounts listed in Line 34.                                     $

        Other Necessary Expenses: telecommunication services.                     Enter the total average monthly amount that you
        actually pay for telecommunication services other than your basic home telephone and cell phone service -- such as
 32     pagers, call waiting, caller id, special long distance, or internet service -- to the extent necessary for your health
        and welfare or that of your dependents.          Do not include any amount previously deducted.
                                                                                                                                       $

 33     Total Expenses Allowed under IRS Standards.            Enter the total of Lines 19 through 32                                  $
               Case 08-90735            Doc 1          Filed 04/29/08 Entered 04/29/08 16:38:55                            Desc Main
B22A (Official Form 22A) (Chapter 7) (01/08)
                                                         Document
                                                    - Cont.
                                                                     Page 41 of 43                                                        5
                                Subpart B: Additional Living Expense Deductions
                      Note: Do not include any expenses that you have listed in Lines 19-32
        Health Insurance, Disability Insurance and Health Savings Account Expenses.                List the monthly expenses in the
        categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your dependents.

           a.    Health Insurance               $
           b.    Disability Insurance           $
           c.    Health Savings Account         $
 34
          Total and enter on Line 34                                                                                                  $
          If you do not actually expend this total amount, state your actual total average monthly expenditures in the
          space below:
          $

        Continued contributions to the care of household or family members.               Enter the total average actual
 35     monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
        elderly, chronically ill, or disabled member of your household or member of your immediate family who is
        unable to pay for such expenses.                                                                                              $

        Protection against family violence.        Enter the total average reasonably necessary monthly expenses that you actually
 36     incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
        other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                  $

        Home energy costs.      Enter the total average monthly amount, in excess of the allowance specified by IRS
 37     Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
        provide your case trustee with documentation of your actual expenses, and you must demonstrate that
        reasonable and necessary and not already accounted for in the IRS Standards.                                                  $

        Education expenses for dependent children less than 18.             Enter the total average monthly expenses that
        you actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or
 38     secondary school by your dependent children less than 18 years of age.You must provide your case trustee
        with documentation of your actual expenses, and you must explain why the amount claimed is
        reasonable and necessary and not already accounted for in the IRS Standards.                                                  $

        Additional food and clothing expense.           Enter the total average monthly amount by which your food and
        clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
 39     Standards, not to exceed 5% of those combined allowances. (This information is available at    www.usdoj.gov/ust/
        or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
        reasonable and necessary.                                                                                                     $

 40     Continued charitable contributions.         Enter the amount that you will continue to contribute in the
        form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                   $

 41     Total Additional Expense Deductions under § 707(b).           Enter the total of Lines 34 through 40                          $

                                            Subpart C: Deductions for Debt Payment
        Future payments on secured claims.           For each of your debts that is secured by an interest in
        you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
        Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
        total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
        filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
        the total of the Average Monthly Payments on Line 42.
                  Name of Creditor             Property Securing the Debt                  Average              Does payment
                                                                                           Monthly              include taxes
                                                                                           Payment              or insurance?
 42
          a.                                                                        $                             yes       no
          b.                                                                        $                             yes       no
          c.                                                                        $                             yes       no

          d.                                                                        $                             yes       no
          e.                                                                        $                             yes       no

                                                                                    Total: Add Lines a - e                            $
               Case 08-90735            Doc 1        Filed 04/29/08 Entered 04/29/08 16:38:55                                      Desc Main
B22A (Official Form 22A) (Chapter 7) (01/08)
                                                       Document
                                                  - Cont.
                                                                   Page 42 of 43                                                                     6
        Other payments on secured claims.           If any of the debts listed in Line 42 are secured by your primary
        residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
        you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
        in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure amount
        would include any sums in default that must be paid in order to avoid repossession or foreclosure. List and
        total any such amounts in the following chart. If necessary, list additional entries on a separate page.

                 Name of Creditor              Property Securing the Debt                     1/60th of the Cure Amount
 43
          a.                                                                              $
          b.                                                                              $
          c.                                                                              $
          d.                                                                              $
          e.                                                                              $

                                                                                              Total: Add Lines a - e                       $

        Payments on prepetition priority claims.            Enter the total amount, divided by 60, of all priority claims, such
 44     as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing.
        Do not include current obligations, such as those set out in Line 28.                                                              $
        Chapter 13 administrative expenses.           If you are eligible to file a case under Chapter 13, complete
        the following chart, multiply the amount in line a by the amount in line b, and enter the resulting
        administrative expense.


          a.    Projected average monthly Chapter 13 plan payment.                            $
 45             Current multiplier for your district as determined under              x
          b.
                schedules issued by the Executive Office for United States
                Trustees. (This information is available at www.usdoj.gov/ust/
                or from the clerk of the bankruptcy court.)

          c.    Average monthly administrative expense of Chapter 13 case             Total: Multiply Lines a and b                        $


 46      Total Deductions for Debt Payment.        Enter the total of Lines 42 through 45.                                                 $

                                            Subpart D: Total Deductions from Income
 47     Total of all deductions allowed under § 707(b)(2).          Enter the total of Lines 33, 41, and 46.                               $

                                 Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
 48     Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                             $

 49     Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                  $

 50     Monthly disposable income under § 707(b)(2).            Subtract Line 49 from Line 48 and enter the
        result                                                                                                                             $

 51     60-month disposable income under § 707(b)(2).           Multiply the amount in Line 50 by the
        number 60 and enter the result.                                                                                                    $

        Initial presumption determination.        Check the applicable box and proceed as directed.
           The amount on Line 51 is less than $6,575          Check the box for "The presumption does not arise" at the top of page 1 of
        this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
 52        The amount set forth on Line 51 is more than $10,950.              Check the box for "The presumption arises" at the top of
        page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
           The amount on Line 51 is at least $6,575, but not more than $10,950.                   Complete the remainder of Part
        VI (Lines 53 through 55).

 53     Enter the amount of your total non-priority unsecured debt                                                                         $

 54     Threshold debt payment amount.            Multiply the amount in Line 53 by the number 0.25 and enter
        the result.                                                                                                                        $

        Secondary presumption determination.              Check the applicable box and proceed as directed.
           The amount on Line 51 is less than the amount on Line 54.              Check the box for "The presumption does not arise" at
 55     the top of page 1 of this statement, and complete the verification in Part VIII.
           The amount on Line 51 is equal to or greater than the amount on Line 54.                  Check the box for "The presumption
        arises" at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.
               Case 08-90735            Doc 1        Filed 04/29/08 Entered 04/29/08 16:38:55                                  Desc Main
B22A (Official Form 22A) (Chapter 7) (01/08)
                                                       Document
                                                  - Cont.
                                                                   Page 43 of 43                                                           7
                                            PART VII. ADDITIONAL EXPENSE CLAIMS
        Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
        health and welfare of you and your family and that you contend should be an additional deduction from your current
        monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect
        your average monthly expense for each item. Total the expenses.
                 Expense Description                                                 Monthly Amount
 56
          a.                                                                          $
          b.                                                                          $
          c.                                                                          $
                                            Total: Add Lines a, b, and c              $

                                                          Part VIII: VERIFICATION
        I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
        both debtors must sign.)

                                                  /s/ Tovo, Raymond M.
        Date: ________________________ Signature: _____________________________________________________________________
 57
                                                     (Debtor)
                                                   /s/ Tovo, Kathryn A.
        Date: ________________________ Signature: _____________________________________________________________________
                                                     (Joint Debtor, if any )
